Case 2:19-cr-O0500-BRM Document 21 Filed 07/17/19 Pee SE PVE bp

U.S. Department of Justice
AT 8:30 M
WILLIAM T.
United States Attorney nea
District af New Jersey
970 Broad Street, Suite 700 (973) 645-2700

Newark, New Jersey 07102

LG/PL AGR
2017R00907

May 31, 2019
VIA ELECTRONIC MAIL
Joseph M. Corazza, Esq.
Kraemer & Corazza

328 Sparta Avenue, Suite D
Sparta, New Jersey 07871

Re: Plea Agreement with Dennis Jones / 14-500 CEEM }

Dear Mr. Corazza:

This letter sets forth the plea agreement between your client, Dennis
Jones (“Jones”), and the United States Attorney for the District of New Jersey
(“this Office”). The government’s offer to enter into this plea agreement will
expire on June 21, 2019 if it is not accepted in writing by that date.

Charge

Conditioned on the understandings specified below, this Office will
accept a guilty plea from Jones to a one-count Information, which charges that,
on or about May 7, 2019, Jones knowingly and intentionally conspired with
Talib Beeks and others to distribute and possess with intent to distribute 5
kilograms or more of a mixture and substance containing a detectable amount
of cocaine, a Schedule IJ controlled substance, contrary to 21 U.S.C. §§ 841
and (a)(1) and (b)(1)(A), in violation of 21 U.S.C. § 846. If Jones enters a guilty
plea and is sentenced on these charges, and otherwise fully complies with all of
the terms of this agreement, this Office will not initiate any further criminal
charges against Jones for knowingly and intentionally conspiring with others to
distribute and possess with intent to distribute a controlled dangerous
substance on or about May 7, 2019.

However, in the event that a guilty plea in this matter is not entered for
any reason or the judgment of conviction entered as a result of this guilty plea
does not remain in full force and effect, Jones agrees that any dismissed
Case 2:19-cr-00500-BRM Document 21 Filed 07/17/19 Page 2 of 10 PagelD: 32

charges and any other charges that are not time-barred by the applicable
statute of limitations on the date this agreement is signed by Jones may be
commenced against him, notwithstanding the expiration of the limitations
period after Jones signs the agreement.

Sentencing

The violation of 21 U.S.C. § 846 charged in the Information to which
Jones agrees to plead guilty carries a statutory mandatory minimum sentence
of 10 years, a statutory maximum prison sentence of life, and a statutory
maximum fine equal to the greatest of: (1) $10,000,000, or (2) twice the gross
profits or other proceeds to Jones. Fines imposed by the sentencing judge may
be subject to the payment of interest.

The sentence to be imposed upon Jones is within the sole discretion of
the sentencing judge, subject to the provisions of the Sentencing Reform Act,
18 U.S.C. §§ 3551-3742, and the sentencing judge’s consideration of the
United States Sentencing Guidelines. The United States Sentencing Guidelines
are advisory, not mandatory. The sentencing judge may impose any reasonable
sentence up to and including the statutory maximum term of imprisonment
and the maximum statutory fine. This Office cannot and does not make any
representation or promise as to what guideline range may be found by the
sentencing judge, or as to what sentence Jones ultimately will receive.

Further, in addition to imposing any other penalty on Jones, the
sentencing judge (1) will order Jones to pay an assessment of $100 pursuant to
18 U.S.C. § 3013, which assessment must be paid by the date of sentencing:
(2) must order forfeiture pursuant to 21 U.S.C. § 853; (3) may deny Jones
certain statutorily defined benefits, pursuant to 21 U.S.C. §§ 862 and 862a;
and (4) pursuant to 21 U.S.C. § 841, must require Jones to serve a term of
supervised release of at least 5 years, which will begin at the expiration of any
term of imprisonment imposed. Should Jones be placed on a term of
supervised release and subsequently violate any of the conditions of supervised
release before the expiration of its term, Jones may be sentenced to not more
than 5 years’ imprisonment in addition to any prison term previously imposed,
regardless of the statutory maximum term of imprisonment set forth above and
without credit for time previously served on post-release supervision, and may
be sentenced to an additional term of supervised release.
Case 2:19-cr-O0500-BRM Document 21 Filed 07/17/19 Page 3 of 10 PagelD: 33

Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this Office reserves its
right to take any position with respect to the appropriate sentence to be
imposed on Jones by the sentencing judge, to correct any misstatements
relating to the sentencing proceedings, and to provide the sentencing judge and
the United States Probation Office all law and information relevant to
sentencing, favorable or otherwise. In addition, this Office may inform the
sentencing judge and the United States Probation Office of: (1) this agreement;
and (2) the full nature and extent of Jones’s activities and relevant conduct
with respect to this case.

Stipulations

This Office and Jones agree to stipulate at sentencing to the statements
set forth in the attached Schedule A, which hereby is made a part of this plea
agreement. This agreement to stipulate, however, cannot and does not bind the
sentencing judge, who may make independent factual findings and may reject
any or all of the stipulations entered into by the parties, To the extent that the
parties do not stipulate to a particular fact or legal conclusion, each reserves
the right to argue the existence of and the effect of any such fact or conclusion
upon the sentence. Moreover, this agreement to stipulate on the part of this
Office is based on the information and evidence that this Office possesses as of
the date of this agreement. Thus, if this Office obtains or receives additional
evidence or information prior to sentencing that it determines to be credible
and to be materially in conflict with any stipulation in the attached Schedule A,
this Office shall not be bound by any such stipulation. A determination that
any stipulation is not binding shall not release either this Office or Jones from
any other portion of this agreement, including any other stipulation. If the
sentencing court rejects a stipulation, both parties reserve the right to argue on
appeal or at post-sentencing proceedings that the sentencing court was within
its discretion and authority to do so. These stipulations do not restrict this
Office’s right to respond to questions from the Court and to correct
misinformation that has been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A, this Office and Jones waive certain rights to
file an appeal, collateral attack, writ, or motion after sentencing, including but
not limited to an appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C.
§ 2255.
Case 2:19-cr-O0500-BRM Document 21 Filed 07/17/19 Page 4 of 10 PagelD: 34

Forfeiture

As part of his acceptance of responsibility and pursuant to 21 U.S.C.
§ 853, Jones agrees to forfeit to the United States all of his right, title, and
interest in any and all property constituting or derived from any proceeds the
defendant Jones obtained, directly or indirectly, as the result of the violation
charged in Count One of the Information, and all of the defendant’s right, title,
and interest in any property in which the defendant has an interest that was
used or intended to be used, in any manner or part, to commit, and to facilitate
the commission of, the violation charged in Count One of the Information.

Jones further agrees to forfeit ail of his right, title, and interest in the
property listed on the attached Schedule B, which was seized from Jones on or
about May 7, 2019, and which the defendant admits has the requisite nexus to
the drug trafficking offense charged in the Information (the “Specific Property”)
and is therefore are forfeitable to the United States of America pursuant to 21
U.S.C. § 853.

Jones further consents to the administrative and/or civil judicial
forfeiture of the Specific Property pursuant to 21 U.S.C. § 881 and/or 18
U.S.C. § 981(a). Jones agrees that he will not file a claim or a petition for
remission or mitigation in any forfeiture proceeding involving the Specific
Property and will not cause or assist anyone else in doing so. To the extent
Jones has filed a claim or petition in any administrative or civil judicial
forfeiture proceeding involving the Specific Property, such claims or petitions
are hereby deemed withdrawn. Jones further agrees to take all necessary steps
to pass clear title to the Specific Property to the United States, including, but
not limited to, the surrender of such property to the United States Marshals
Service and the execution of all necessary documentation.

Jones waives the requirements of Rules 32.2 and 43(a) of the Federal
Rules of Criminal Procedure regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of
the forfeiture in the judgment. Pursuant to Rule 32.2(b)(4) of the Federal Rules
of Criminal Procedure, the defendant consents to the entry of an order of
forfeiture that, in the Office’s discretion, may be final as to the defendant prior
to the defendant’s sentencing. Jones understands that criminal forfeiture
pursuant to 21 U.S.C. § 853 is part of the sentence that may be imposed in
this case and waives any failure by the court to advise him of this pursuant to
Rule 11(b)(1)(J) of the Federal Rules of Criminal Procedure at the guilty plea
proceeding. It is further understood that any forfeiture of Jones’s assets shall
not be treated as satisfaction of any fine, restitution, cost of imprisonment, or
any other penalty the Court may impose upon him in addition to forfeiture.
Jones waives any and all constitutional, statutory, and other challenges to the

-4-
Case 2:19-cr-00500-BRM Document 21 Filed 07/17/19 Page 5 of 10 PagelD: 35

forfeiture on any and all grounds, including that the forfeiture constitutes an
excessive fine or punishment under the Eighth Amendment.

Jones further agrees that no later than the date he enters his plea of
guilty he will provide a complete and accurate Financial Disclosure Statement
on the form provided by this Office. If Jones fails to provide a complete and
accurate Financial Disclosure Statement by the date he enters his plea of
guilty, or if this Office determines that Jones has intentionally failed to disclose
assets on his Financial Disclosure Statement, Jones agrees that that failure
constitutes a material breach of this agreement, and this Office reserves the
right, regardless of any agreement or stipulation that might otherwise apply, to
oppose any downward adjustment for acceptance of responsibility pursuant to
U.S.5.G. § 3E1.1, and to seek leave of the Court to withdraw from this
agreement or seek other relief.

Immigration Consequences

Jones understands that, if he is not a citizen of the United States, his
guilty plea to the charged offense will likely result in his being subject to
immigration proceedings and removed from the United States by making him
deportable, excludable, or inadmissible, or ending his naturalization. Jones
understands that the immigration consequences of this plea will be imposed in
a separate proceeding before the immigration authorities. Jones wants and
agrees to plead guilty to the charged offense regardless of any immigration
consequences of this plea, even if this plea will cause his removal from the
United States. Jones understands that he is bound by his guilty plea
regardless of any immigration consequences of the plea. Accordingly, Jones
waives any and all challenges to his guilty plea and to his sentence based on
any immigration consequences, and agrees not to seek to withdraw his guilty
plea, or to file a direct appeal or any kind of collateral attack challenging his
guilty plea, conviction, or sentence, based on any immigration consequences of

his guilty plea.

Other Provisions

This agreement is limited to the United States Attorney’s Office for the
District of New Jersey and cannot bind other federal, state, or local authorities.
However, this Office will bring this agreement to the attention of other
prosecuting offices, if requested to do so.

This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against Jones. This
agreement does not prohibit the United States, any agency thereof (including
the Internal Revenue Service and Immigration and Customs Enforcement) or

_5-
Case 2:19-cr-O0500-BRM Document 21 Filed 07/17/19 Page 6 of 10 PagelD: 36

any third party from initiating or prosecuting any civil or administrative
proceeding against Jones.

No provision of this agreement shall preclude Jones from pursuing in an
appropriate forum, when permitted by law, an appeal, collateral attack, writ, or
motion claiming that Jones received constitutionally ineffective assistance of
counsel.

No Other Promises

This agreement constitutes the plea agreement between Jones and this
Office and supersedes any previous agreements between them. No additional
promises, agreements, or conditions have been made or will be made unless set
forth in writing and signed by the parties.

Very truly yours,

CRAIG CARPENITO
United States Attorney

BY: LEAHPGFOULD

Assistant U.S. Attorney
APPROVED:

MEREDITH J. WILLIAMS"
Chief, OCDETF/ Narcotics

Case 2:19-cr-00500-BRM Document 21 Filed 07/17/19 Page 7 of 10 PagelD: 37

I have received this letter from my attorney, Joseph M. Corazza, Esq. |
have read it. My altorney and I have discussed it and all of its provisions,
including those addressing the charge, senlenciny, stipulations, waiver,
forfeiture, and immigration consequences. I understand this letter fully. ]
hereby accept its terms and conditions and acknowledge that it constitutes the
plea agreement between the parties. | understand that no additional promises,
agreements, or conditions have been made or will be made unless set forth in
writing and signed by the parties. I want to plead guilty pursuant to this plea

agreement.

AGREED AND ACCEPTED:

Date: 6° 6° /7

Dennis Jones

i have discussed with my client this plea agreement and all of its
provisions, including those addressing the charge, sentencing, stipulations,
waiver, forfeiture, and immigration consequences. My client understands this
plea agreement fully and wants to plead guilty pursuant to it.

ogeph M. Corazza, Es

Case 2:19-cr-O0500-BRM Document 21 Filed 07/17/19 Page 8 of 10 PagelD: 38

Plea Agreement With Dennis Jones

Schedule A

1. This Office and Dennis Jones recognize that the United States
Sentencing Guidelines are not binding upon the Court. This Office and Jones
nevertheless agree to the stipulations set forth herein, and agree that the Court
should sentence Jones within the Guidelines range that results from the total
Guidelines offense level set forth below. This Office and Jones further agree
that neither party will argue for the imposition of a sentence outside the
Guidelines range that results from the agreed total Guidelines offense level.

2. The version of the United States Sentencing Guidelines effective
November 1, 2018 applies in this case. The applicable guideline is U.S.S.G.
§ 2D1.1.

3. This guideline carries a Base Offense Level of 30, because the
offense involved a total of more than 5 kilograms but less than 15 kilograms of
cocaine. U.S.8.G. § 2D1.1(c)(5).

4, Because Jones maintained a premises for the purpose of
manufacturing or distributing a controlled substance, this results in a two-
level increase. U.S.S.G. § 2D1.1(b)(12).

5. Pursuant to U.S.S.G. § 4B1.1(a), Jones may be a career offender
because (a) he was at least eighteen years old at the time he committed the
instant offense; (b) the instant offense constitutes a controlled substance
offense as that term is defined under U.S.S.G. § 4B1.2; and (c) Jones may have
at least two prior felony convictions for either a crime of violence or a controlled
substance offense. The parties defer to the criminal history calculation by the
United States Probation Office as to whether Jones is a career offender.

6. As of the date of this letter, it is expected that Jones will enter a
plea of guilty prior to the commencement of trial, will truthfully admit his
involvement in the offense and related conduct, and will not engage in conduct
that is inconsistent with such acceptance of responsibility. If all of these events
occur, and Jones’s acceptance of responsibility continues through the date of
sentencing, a downward adjustment of 2 levels for acceptance of responsibility
will be appropriate. See U.S.S.G. § 3E1.1(a) and Application Note 3.

7. As of the date of this letter, it is expected that Jones will assist
authorities in the investigation or prosecution of his own misconduct by timely
notifying authorities of his intention to enter a plea of guilty, thereby permitting
this Office to avoid preparing for trial and permitting this Office and the court
to allocate their resources efficiently. At sentencing, this Office will move for a

“82
Case 2:19-cr-O0500-BRM Document 21 Filed 07/17/19 Page 9 of 10 PagelD: 39

further 1-point reduction in Jones’s offense level pursuant to U.S.S.G.

§ 3E1.1(b) if the following conditions are met: (a) Jones enters a plea pursuant
to this agreement, (b) this Office in its discretion determines that Jones’s
acceptance of responsibility has continued through the date of sentencing and
Jones therefore qualifies for a 2-point reduction for acceptance of responsibility
pursuant to U.S.8.G. § 3E1.1(a), and (c) Jones’s offense level under the
Guidelines prior to the operation of § 3E1.1{a) is 16 or greater.

8. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to Jones is 34 if he is a career offender
pursuant to U.S.S.G. § 4B1.1(a) (the “agreed total Guidelines career offender
offense level”), or 29 if he is not a career offender pursuant to U.S.S.G.

§ 4B1.1(a) (the “agreed total Guidelines non-career offender offense level”)
(collectively, the “agreed total Guidelines offense level”), subject to any
applicable statutory mandatory minimum.

9. Jones knows that he has and, except as noted below in this
paragraph, voluntarily waives, the right to file any appeal, any collateral attack,
or any other writ or motion, including but not limited to an appeal under 18
U.S.C. § 3742 or a motion under 28 U.S.C. § 2255, which challenges the
sentence imposed by the sentencing court if that sentence falls within or below
the Guidelines range that results from the agreed total Guidelines offense level
of 34. This Office will not file any appeal, motion, or writ which challenges the
sentence imposed by the sentencing court if that sentence falls within or above
the Guidelines range that results from the agreed total Guidelines offense level
of 29. The parties reserve any right they may have under 18 U.S.C. § 3742 to
appeal the sentencing court’s determination of the criminal history category.
The provisions of this paragraph are binding on the parties even if the Court
employs a Guidelines analysis different from that stipulated to herein.
Furthermore, if the sentencing court accepts a stipulation, both parties waive
the right to file an appeal, collateral attack, writ, or motion claiming that the
sentencing court erred in doing so.

10, Both parties reserve the right to oppose or move to dismiss any
appeal, collateral attack, writ, or motion barred by the preceding paragraph
and to file or to oppose any appeal, collateral attack, writ or motion not barred
by the preceding paragraph.
Case 2:19-cr-O0500-BRM Document 21 Filed 07/17/19 Page 10 of 10 PagelD: 40

Schedule B

The following property seized from Dennis Jones on or about May 7,
2019:

1. Approximately $12,000 in United States currency;
An Audemars Piguet diamond-encrusted wristwatch;
A gold-colored chain with praying hands pendant;

A diamond bracelet; and

a

A white gold and diamond ring.

-10-
